46 F.3d 1125
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.James N. KEELER, Jr., Petitioner Appellant,v.Robert H. MAUNEY, Warden;  State of South Carolina;Attorney General of South Carolina, Respondents Appellees.
    No. 93-6643.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 30, 1994.Decided Jan. 12, 1995.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.  Henry M. Herlong, Jr., District Judge.  (CA-92-2203-3-20).
      James N. Keeler, Appellant Pro Se.  Donald John Zelenka, Chief Deputy Attorney General, Columbia, SC, for Appellees.
      D.S.C.
      DISMISSED.
      Before HAMILTON, WILLIAMS, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Keeler v. Mauney, No. CA-92-2203-3-20 (D.S.C. May 27, 1994).*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    
      
        *
         Because of Keeler's procedural default, consideration of his ex post facto claim is precluded
      
    
    